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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
JAMES HURT JR.,
                                             Plaintiffs,                    JOINT PRE-TRIAL
                                                                            ORDER
            -against-
                                                                            ECF Case

                                                                            15- CV-7612 (PKC)
THE CITY OF NEW YORK, a municipal entity,
NYPD SERGEANT MICHAEL CONNIZO
(Shield 1391, Tax ID 932485), and NYPD
POLICE OFFICER JOHN DOE.

                                             Defendants.
-----------------------------------------------------------------------X

       I.      Caption:

               The full caption of the action appears above.

      II.      Parties and Counsel:

               Plaintiff’s Counsel                                    Defendant’s Counsel

               London Indusi LLP                                      New York City Law Department
               Cary London, Esq.                                      Angharad Wilson, Esq.
               186 Joralemon Street, Suite 1202                       100 Church Street
               Brooklyn, NY 11201                                     New York, NY 10007
               Phone: (718) 301-4593                                  Phone: (212) 356 2572
               Fax: (718) 247-9391                                    Fax: (212) 356-3509

               Stecklow & Thompson
               Wylie Stecklow, Esq.
               217 Centre Street
               New York, NY 10013

     III.      Jurisdiction:

               The Court has original subject matter jurisdiction over plaintiff’s federal claims
               pursuant to 28 U.S.C. § 1983 and 28 U.S.C. §§ 1331 and 1343(a) (3) and (4).

               The Court has supplemental jurisdiction over plaintiff’s state law claims pursuant to
               28 U.S.C. § 1367(a).




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       Defendants do not dispute the Court’s jurisdiction over the dispute.

IV.    Brief Statement of Claims and Defenses:

     Claims To Be Tried:
        - -- Unlawful violation of 4th Amendment rights 1 (seizure/search), against
            Defendant Connizzo (Unlawful Stop & Search).
        - -- Unlawful violation of 4th Amendment rights 2 (seizure), against Defendant
            Connizzo (Unlawful Detention).
        - Unlawful violation of 4th Amendment rights 3 (excessive force), against
            Defendant Connizzo
        - -- Unlawful Stop & Search, New York State law, against Defendants
            Connizzo and City of New York (latter pursuant to respondeat superior)
        - -- Unlawful detention or arrest, New York State law, against Defendants
            Connizzo and City of New York (latter pursuant to respondeat superior)
        - -- Battery, New York State law, against Defendants Connizzo and City of
            New York (latter pursuant to respondeat superior)
        - -- Assault, New York State law, against Defendants Connizzo and City of
            New York (latter pursuant to respondeat superior)
        - -- Negligence, New York State law, against Defendants Connizzo and City of
            New York (latter pursuant to respondeat superior)
        - -- Negligent training & supervision against defendant City of New York
  Defenses:

                1. Plaintiff has failed to prove personal involvement by defendant Connizzo.

                2. Any injury alleged to have been sustained resulted from plaintiff’s own
                  culpable or negligent conduct and was not the proximate result of any act
                  of defendants.

                3. Plaintiff provoked any incident.

                4. There was reasonable suspicion, probable cause, and/or exigent
                  circumstances for any alleged stop or search.

                5. There was probable cause for plaintiff’s arrest and detention.

                6. Defendant City has not violated any rights, privileges, or immunities
                  under the Constitution or laws of the United States or the State of New
                  York or any political subdivision thereof.

                7. At all times relevant to the acts alleged in the complaint, the duties and
                  functions of the municipal defendant’s officials entailed the reasonable
                  exercise of proper and lawful discretion. Therefore, defendant City is
                  entitled to governmental immunity from liability.




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                      8. Punitive damages cannot be assessed against defendant City of New York

                      9. Plaintiff has failed to mitigate his alleged damages.

                      10.       Defendant Connizzo has not violated any clearly established
                        constitutional or statutory right of which a reasonable person would have
                        known and, therefore, is protected by qualified immunity.

      V.     Jury or Bench Trial:

             The parties stipulate to a trial by jury and respectfully request two (2) trial days to
             present the case.

     VI.     Consent to Trial by a Magistrate Judge:

             The parties do not consent to trial of the case by a magistrate judge.

    VII.     Stipulations:

     1. A document purporting to be plaintiff’s notice of claim was filed with the City of
        New York on Sept. 12, 2014.

     2. A 50-h hearing was held on or about March 23, 2015.


     3. The plaintiff commenced the action on Sept. 25, 2015 by filing a summons and
        complaint in this Court.

    VIII.    Witnesses:

Plaintiff’s Witnesses1

        1. Plaintiff James Hurt

             Plaintiff: Will testify as to the circumstances of his detention, injuries and the
             resultant damages.

        2. Witness James Hurt Sr.

             Plaintiff: Will testify as to the circumstances of plaintiff’s detention and the resultant
             damages.

1
  In addition to the witnesses listed, Plaintiff reserves the right to call any of the witnesses listed
by Defendant. Plaintiff further reserves the right to call additional witnesses for purposes of
rebuttal and/or impeachment.

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3. Witness Jacqueline Marquez

   Plaintiff: Will testify as to the circumstances of plaintiff’s detention and the resultant
   damages.


4. Witness LT Naeemah Greene

   Plaintiff: Will testify as to the circumstances of plaintiff’s detention and the resultant
   damages.


5. Expert Witness Dr. David Weiss, M.D.

   Plaintiff: Expert Witness will testify as to the physical injuries stemming from the
   excessive force used during plaintiff’s detention.

6. Defendant Michael Connizzo

   Plaintiff: Will testify as to the circumstances of plaintiffs’ detainment.


7. Witness Frank Siciliano

   Plaintiff: Will testify as to the circumstances of plaintiffs’ detainment, and/or his tour
   on the night of incident.


8. 911 Radio Technician/Custodian of Records

   Plaintiff: Will testify to lay the foundation to enter 911 and SPRINT records into
   evidence.


9. T-Mobile Custodian of Records

   Plaintiff: Will testify to lay the foundation to enter Plaintiff’s T-Mobile Phone
   Records into evidence.

10. Custodian of Records from St. Johns Hospital:

   Plaintiff: Will testify to lay the foundation to enter the medical records.




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       11. Custodian of Records from Montefiore Hospital

           Plaintiff: Will testify to lay the foundation to enter the medical records.


       12. Custodian of Records from Island Musculosketetal

           Plaintiff: Will testify to lay the foundation to enter the medical records.

       13. Witness Clive Caplan

           Plaintiff: will lay the foundation for D586.

       14. Witness Lt. Paynter
           Plaintiff: Will testify concerning then-current patterns of police impersonation, and
           the conclusion he and Group 51 reached, that the circumstances described by the
           Plaintiff did not match those patterns.



Defendants’ Witnesses2

       1. Sgt. Michael Connizzo

           Defendants: Will testify as to his activities on July 2, 2014.


       2. PO Frank Siciliano

           Defendants: Will testify as to his activities on July 2, 2014.

       3. Ashley Lopez

           Defendants: Will testify as to phone calls between herself and plaintiff on July 2,
           2014.

       4. Jeremy Padilla

           Defendants: Will testify as to his interaction with plaintiff on July 2, 2014.


    IX.    Deposition Testimony:

2
  In addition to the witnesses listed, Defendants reserve the right to call any of the witnesses
listed by Plaintiff. Defendants further reserve the right to call additional witnesses for purposes
of rebuttal and/or impeachment.

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Plaintiff: Designates the following from the deposition of Defendant Connizzo: FRE801(d)(2):
30:12-31:23;	39:10-40:21;	78:3-82:2.			

                  Plaintiff is not designating any other prior deposition testimony for his
                  case-in-chief, but respectfully reserves the right to utilize deposition
                  testimony in any manner authorized by the Federal Rules of Evidence
                  and the Federal Rules of Civil Procedure should it become necessary
                  including, but not limited to, for impeachment.

                  Defendant is not designating any prior deposition testimony for his case-in-chief but
                  respectfully reserves the right to utilize deposition testimony in any manner
                  authorized by the Federal Rules of Civil Procedure should it become necessary
                  including, but not limited to, for impeachment. Additionally, defendant objects to
                  plaintiff’s use of deposition testimony of any witness unless plaintiff has made a
                  showing that the witness is unavailable as defined by Rule 804 of the Federal Rules
                  of Evidence.

          X.      Exhibits:

Plaintiff’s Exhibits3


    No.        Description             Bates           Stipulated?    Basis for Objection
    1          St. Johns Riverside     PL 1-41                        Hearsay (802)
               Medical Records
    2          Photos of Arm Scar      PL 110-111                     Relevance (402); Confusion (403)
    3          Montefiore Medical      Pl 209-226                     Hearsay (802)
               Records
    4          Photos in hospital      PL 285-294                     Confusion and Prejudice (403)
    5          Additional              PL 329-387                     Hearsay (802)
               Montefiore Medical
               Records
    6          Island                  PL 295-328                     Hearsay (802)
               Musculoskeletal
               Care Records
    7          St. Johns Riverside     PL 389-413                     Hearsay (802)
               Hospital After Care
               Plan
    8          T-Mobile Subpoena       PL 414-418                     Relevance (402); Confusion and
               Records                                                Prejudice (403)

    9          Photo of Plaintiff at   D57                            * Relevance (402); Confusion and

3
  In addition to plaintiff’s listed exhibits, plaintiff reserves the right to use any of the exhibits
listed by defendant.

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     CCRB                                          Prejudice (403)
10   Sgt Connizo           D60-61            YES   **
     Memobook
11   Dr. David Weiss                               * Hearsay (802); Confusion and
     Expert Report                                 Prejudice (403)
12   Bronx Anti-Crime      D1326-1327        YES
     Roll Call
13   Google Map            Exhibit    H
     Printout              from Connizo            * Relevance (402); Confusion and
                           Deposition              Prejudice (403)

14   CCRB Interview        D306                    * Relevance (402); Hearsay (802)
     Intake Form
15   Facebook Profile      D13-16                  Relevance (402); Confusion and
     Picture Connizzo                              Prejudice (403)

16   LPR for Frank                                 Relevance (402); Confusion and
     Siciliano                                     Prejudice (403)

17   Dr. David Weiss                               * Hearsay (802); Relevance (402)
     CV
18   Sprint 911 Printout   D 74-79                 * Hearsay (802)
19   Operations Order:     D 438-442               * Hearsay (802); Relevance (402);
     TRIP                                          Confusion and Prejudice (403)

20   Photos of TPO         DP 518-546              Relevance (402); Confusion and
                                                   Prejudice (403)

21   Photos of location    Pl – 0518 -             Relevance (402); Confusion and
     of stop               527                     Prejudice (403)

22   Plaintiff’s medical   Pl -000196 -            Hearsay (802); Relevance (402);
     bills                 208 -                   Confusion and Prejudice (403)

23   Shelter Point Lien    Pl- 000388              Hearsay (802); Relevance (402);
                                                   Confusion and Prejudice (403)

24   Disability benefits   Pl 000227 –             Hearsay (802); Relevance (402);
     payment stubs         235                     Confusion and Prejudice (403)

25   Defendants’ 56.1      N/A                     Not Evidence; Hearsay (802);
     statement                                     Confusion and Prejudice (403)

26   Notice of Claim       PL     0100   -         Not   Evidence;   Hearsay   (802);



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                                  0101                            Confusion and Prejudice (403)

    27    Complaint               Docket                          Not Evidence; Hearsay (802);
                                                                  Confusion and Prejudice (403)

    28    Answer                  Docket                          Not Evidence; Hearsay (802);
                                                                  Confusion and Prejudice (403)

    29    Amended                 Docket                          Not Evidence; Hearsay (802);
          Complaint                                               Confusion and Prejudice (403)

    30    Answer                  Docket                          Not Evidence; Hearsay (802);
                                                                  Confusion and Prejudice (403)

    31    50-h Hearing                                            Not Evidence; Hearsay (802);
          transcript              PL 045-095                      Confusion and Prejudice (403)

    32    Patrol Guide                                            Incomplete     Document      (106);
          Sections PG 202-                                        Relevance (402); Confusion and
          13, PG 202-154;                                         Prejudice (403); Hearsay (802)
          PG 202-17; PG
          206-03; PG 211-01
          PG 211-04;
    33    IAB Worksheet           D 0586                          Incomplete     Document      (106);
          Activity Date &                                         Relevance (402); Confusion and
          Time: 7/10/2014                                         Prejudice (403); Hearsay (802)
          17:50.
    34    EZ Pas Records of       PL 507-517                      Relevance (402); Confusion and
          Defendant                                               Prejudice (403); Hearsay (802)
          Connizzo
    35    CCRB / IAB              D 213, 214,                     Incomplete     Document      (106);
          Investigative File      219, 224, 233                   Relevance (402); Confusion and
          Pages                                                   Prejudice (403); Hearsay (802)

Defendants’ Exhibits4


    No.   Description             Bates     Stipulated?         Basis for Objection
    A     Bronx Anti-Crime        DEF 1326- Yes
          Roll Call for July 1,   1327
          2014

    B     Bronx Court             DEF 1346-                     Incomplete Document

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  In addition to defendants’ listed exhibits, plaintiff reserves the right to use any of the exhibits
listed by plaintiff.

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          Electronic Sign-in     1348                      (106);Relevance (402); Confusion
          Record                                           and Prejudice (403); Hearsay (802);
                                                           Authenticity (901/902).
C         NYPD Patrol Guide      DEF 1328-                 Incomplete       Document      (106);
          Section 211-05         1335                      Relevance (402); Confusion and
                                                           Prejudice (403);.
D         Sgt. Connizzo’s        DEF 0060- Yes
          Memobook Entries       61
          for July 2, 2014

E         Redacted Cellular      DEF 1340 -                Relevance (402); Confusion and
          Records for Sgt.       1341                      Prejudice   (403);  Authenticity
          Connizzo                                         (901/902);

F         July 12, 2017                                    Relevance (402); Confusion and
          Affidavit of Michael                             Prejudice (403); Lack of Personal
          Joy                                              Knowledge (602); Hearsay (802);
                                                           Evidence Concerning Contents of
                                                           Documents Not in Evidence (1004).

G         July 13, 2017                                    Relevance (402); Confusion and
          Affidavit of Pierre                              Prejudice (403); Lack of Personal
          Barbee                                           Knowledge (602); Hearsay (802);
                                                           Evidence Concerning Contents of
                                                           Documents Not in Evidence (1004).

H         February 3, 2017                                 Relevance (402); Confusion and
          Declaration of                                   Prejudice (403); Lack of Personal
          Desmond                                          Knowledge (602); Hearsay (802);
          Power                                            Evidence Concerning Contents of
                                                           Documents Not in Evidence (1004).

I         CCRB Investigative     DEF 0039-                 Incomplete     Document      (106);
          Recommendations        44                        Relevance (402); Confusion and
                                                           Prejudice (403); Hearsay (802);
                                                           Authenticity (901/902);   Evidence
                                                           Concerning Contents of Documents
                                                           Not in Evidence (1004). .



    XI.      Motions in Limine:

    1. Plaintiff’s motions in limine to exclude from evidence:
           a. The Affidavit of Pierre Barbee.
           b. The Affidavit of Michael Joy.


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            c. The Declaration of Desmond Power.
            d. The CCRB Investigative Recommendations.
            e. NYPD Patrol Guide Section 211-05.
            f. Bronx Court Electronic Sign-in Record
            g. Testimony or other evidence concerning Sgt. Connizzo’s allegation that he
               received a short date (last-minute) notification of a July 2, 2014 court appearance,
               or his alleged appearance in court on that date..
            h. Testimony or other evidence concerning any P.O. Siciliano received concerning a
               July 2, 2014 court appearance, or his alleged appearance in court on that date..

   2. Defendants’ motions in limine to exclude from evidence:
         a. Any reference to counsel for defendants as “City Attorneys.”
         b. Sections of the NYPD Patrol Guide relevant to the ultimate legal issues in this
            case.
         c. Evidence concerning any potential indemnification of individual defendants.
         d. Evidence of prior disciplinary history of the individual defendant or other NYPD
            employees.

   XII.     Damages Claimed

   1. Compensatory damages for physical injuries, pain and suffering, emotional damages, and
      violation of plaintiff’s Constitutional rights.
   2. Punitive damages to deter future Constitutional violations by the Defendant.
   3. Reasonable attorney’s fees and expenses for the costs of litigation.

Dated:           New York, NY
                 December 18, 2017


       /s                                                   /s
London Indusi LLP                             New York City Law Department
Cary London, Esq.                             Angharad Wilson, Esq.
Joseph Indusi, Esq.                           100 Church Street
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Brooklyn, NY 11201                            Phone: (212) 356 -
Phone: (718) 301-4593                         Fax: (212) 356-
Fax: (718) 247-9391


       /s
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